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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 16-CR-20965-LENARD
UNITED STATES OF AMERICA
¥.
ELIGIO BACALLAO,

Defendant.

VERDICT FORM
We, the Jury in the above-captioned case, unanimously find the Defendant, ELIGIO

BACALLAO, as to Count | of the Superseding Indictment:

NOT GUILTY GUILTY {7

We, the Jury in the above-captioned case, unanimously find the Defendant, ELIGIO
BACALLAO, as to Count 2 of the Superseding Indictment:

NOT GUILTY GUILTY

SO SAY WE ALL.

Signed and dated at the United States Courthouse,

Miami, Florida, this ((@_ day of eae , 2024.
a Oe VY) Foreperson’s Name Y

